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 7

 8                                 IN THE UNITED STATES DISTRICT COURT
 9                                    EASTERN DISTRICT OF CALIFORNIA
10
                                                     )
11   UNITED STATES OF AMERICA,                       )   CASE NO. 2:15-cr-00176-TLN
                                                     )
12                 Plaintiff,                        )   STIPULATION AND ORDER TO CONTINUE
                                                     )   THE RESTITUTION HEARING
13        v.                                         )
                                                     )   DATE: SEPTEMBER 7, 2017
14   SOMALY SIV,                                     )   TIME: 9:30AM
                                                     )   COURT: HON. TROY L. NUNLEY
15                                                   )
                   Defendant.                        )
16

17

18          Plaintiff United States of America, by and through its counsel, Assistant United States Attorney

19   Rosanne L. Rust, and defendant, Somaly Siv, by and through her counsel, Michael Chastaine, hereby

20   stipulate as follows:

21          1.        By previous order, this matter was set for a continued restitution hearing on September

22   7, 2017.

23          2.        The parties agree that this request for continuance seeks to schedule the restitution

24   hearing beyond 90 days from Ms. Siv’s sentencing. The parties agree, however, that “‘. . . the purpose

25   behind the statutory ninety-day limit on the determination of victims’ losses is not to protect defendants

26   from drawn-out sentencing proceedings or to establish finality; rather, it is to protect crime victims

27   from the willful dissipation of defendants’ assets.’” United States v. Cienfuegos, 462 F.3d 1160, 1162-

28   63 (9th Cir. 2006) (quoting United States v. Zakhary, 357 F.3d 186, 191 (2d Cir. 2004)).
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 1           3.       The parties also agree that sentencing courts are not deprived of their authority to order
 2   restitution when they miss the ninety-day deadline “at least where . . . the sentencing court made clear
 3   prior to the deadline’s expiration that it would order restitution, leaving open (for more than 90 days)
 4   only the amount.” Dolan v. United States, 560 U.S. 605, 608 (2010).
 5           4.       With this in mind and for the reasons articulated herein, by stipulation, the parties now
 6   jointly move to continue the restitution hearing until October 26, 2017, so that they may reach a
 7   resolution regarding the restitution amount. The government has submitted a proposed restitution
 8   amount to defense counsel and has been trying to resolve this issue. However, defense counsel has
 9   stated that he needs more time to discuss this matter with his client. Given that, along with defense
10   counsel’s litigation schedule this month, the parties request an extension of the restitution hearing. The
11   government expects that the parties will be able to resolve the restitution amount issue, and be able to
12   submit a stipulation and proposed order to the Court by October 26, 2017, obviating the need for a
13   hearing on this matter.
14           5.       Accordingly, the parties request that the restitution hearing be continued to October 26,
15   2017.
16           IT IS SO STIPULATED.
                                                            Respectfully Submitted,
17
                                                            PHILLIP A. TALBERT
18                                                          United States Attorney
19 Dated: September 5, 2017                                 /s/ Rosanne L. Rust
                                                     By:    ROSANNE L. RUST
20                                                          Assistant U.S. Attorney
21
                                                            LAW OFFICE OF MICHAEL CHASTAINE
22   Dated: September 5, 2017                        By:    /s/ Michael Chastaine    _______
                                                            MICHAEL CHASTAINE
23                                                          Attorneys for SOMALY SIV
24

25   ///
26   ///
27   ///
28   ///




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                                                      ORDER
 1

 2          GOOD CAUSE APPEARING upon the stipulation of the parties it is ordered:
 3   The restitution hearing in this matter is continued to October 26, 2017, at 9:30 a.m.
 4                  IT IS SO ORDERED.
 5   Dated: September 5, 2017
 6

 7                                                            Troy L. Nunley
                                                              United States District Judge
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